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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL DIVERSITY,
et al.,

            Plaintiffs,

                          v.                    No. 19-cv-00408 (TNM)

LLOYD J. AUSTIN III, in his official capacity
as Secretary of Defense, et al.,

            Defendants.


CENTER FOR BIOLOGICAL DIVERSITY,
et al.,


            Plaintiffs,
                                                No. 20-cv-01230 (TNM)
                          v.

LLOYD J. AUSTIN III, in his official capacity
as Secretary of Defense, et al.,

            Defendants.
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                                      SETTLEMENT AGREEMENT

          This Settlement Agreement is made between and among Plaintiffs Center for Biological

Diversity, Defenders of Wildlife, and Animal Legal Defense Fund (collectively “Plaintiffs”), and

Lloyd J. Austin, in his official capacity as Secretary of Defense, Alejandro Mayorkas, in his

official capacity as Secretary of Homeland Security, Lieutenant General Scott A. Spellmon, in

his official capacity as Commanding General of the United States Army Corps of Engineers, and

Deb Haaland in her official capacity as Secretary of the Interior (collectively, “Defendants”).

                                                   RECITALS

          WHEREAS Plaintiffs filed two lawsuits in the United States District Court for the

District of Columbia captioned Center for Biological Diversity et. al., v. Austin et al., Case No.

19-CV-408 (TNM) (“CBD I”) and Center for Biological Diversity et. al., v. Austin et al., Case

No. 20-CV-1230 (TNM) (“CBD II”) challenging construction of border barriers on the southern

border of the United States using funds provided by the Department of Defense (“DoD”) in fiscal

years 2019 and 2020.

          WHERAS Plaintiffs alleged that Defendants took action that was ultra vires and in

violation of the Consolidated Appropriations Acts of 2019 and 2020; the Department of Defense

Appropriations Act of 2019; the National Emergencies Act; 10 U.S.C. § 2808; the National

Environmental Policy Act; the Administrative Procedure Act; the Appropriations Clause of the

U.S. Constitution (Article I, § 9, clause 7), and the Take Care Clause of the U.S. Constitution

(Article II, § 30. See Pls.’ Am. Compl., CBD I, ECF No. 16; Pls.’ Am. Compl., CBD II, ECF

No. 17.

          WHEREAS, Plaintiffs and Defendants (collectively, “the Parties”) agreed to stay

proceedings in CBD II pending resolution of CBD I. See CBD II, ECF No. 12.



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         WHEREAS, on September 4, 2020, with the filing of Plaintiffs’ Sur-Reply in CBD I

(ECF No. 75), the Parties completed briefing on cross motions for summary judgment in CBD I.

         WHEREAS, on January 20, 2021, President Biden issued a Proclamation declaring that

“[i]t shall be the policy of [his] Administration that no more American taxpayer dollars be

diverted to construct a border wall.” See Proclamation No. 10142, 86 Fed. Reg. 7225, 7225 (Jan.

27, 2021).

         WHEREAS, in furtherance of that policy, the President:

         (A) Directed the Secretary of Defense and the Secretary of Homeland Security to “pause

work on each construction project on the southern border wall, to the extent permitted by law”

id. § 1(a)(i), and to “pause immediately the obligation of funds related to construction of the

southern border wall, to the extent permitted by law.” Id. § 1(a)(ii).

         (B) Directed an “assessment of the legality of the funding and contracting methods used

to construct the wall” and of “the administrative and contractual consequences of ceasing each

wall construction project.” Id. § 1(a)(i).

         (C) Ordered agencies to “compile detailed information on all southern border wall

construction projects, the completion status of each wall construction project, and the funds used

for wall construction since February 15, 2019.” Id. § 1(a)(iii).

         (D) Directed the Secretary of Defense and the Secretary of Homeland Security, in

consultation with the Attorney General and other officials, to develop a plan within 60 days “for

the redirection of funds concerning the southern border wall, as appropriate and consistent with

applicable law.” Id. § 2.




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         WHEREAS, on February 24, 2021, the Parties filed in CBD I a Joint Status Report and

Request for Stay of Proceedings, ECF No. 81, which the Court granted. See Minute Order, CBD

I (Feb. 24, 2021).

         WHEREAS, on April 30, 2021, DoD notified the Court and Plaintiffs that it had decided

to cancel all border wall projects undertaken pursuant to 10 U.S.C. § 284 and 10 U.S.C. § 2808.

See Notice of Decision by the Department of Defense to Cancel Border Wall Projects

Undertaken Pursuant to 10 U.S.C. § 284 and 10 U.S.C. § 2808. See CBD I, ECF No. 84.

         WHEREAS, on June 11, 2021, DoD and the Department of Homeland Security (“DHS”)

completed their plans for the redirection of funds concerning the southern border wall, as

directed by Section 2 of Proclamation No. 10142 (“Border Wall Plan”). See CBD I, ECF No. 86.

The Border Wall Plan committed to:

         (A) Cancel all border wall projects undertaken pursuant to 10 U.S.C. § 284 and 10

              U.S.C. § 2808.

         (B) Redirect approximately $2.2 billion of DoD funds that were diverted away from

              military construction projects back to fund those projects. Id. at 2.

         (C) Not undertake any new barrier construction work on the former § 284 and § 2808

              projects. Id. at 4.

         (D) End border wall construction funded by the Treasury Forfeiture Fund and return any

              excess funds to the Fund. Id. at 4.

         (E) Fund remediation work at the former § 284 and § 2808 projects sites that are turned

              over to DHS with its Fiscal Year 2021 border wall appropriation, subject to the

              availability of those funds. Id. at 3-4.




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         WHEREAS by and through this Agreement, Plaintiffs and Defendants wish to resolve all

of the claims in CBD I and CBD II (“the Lawsuits”), and any and all other claims, complaints, or

issues that have been or could have been asserted by Plaintiffs against Defendants, without the

need for further litigation and without any admission of liability;

         NOW, THEREFORE, in consideration of the promises and mutual covenants and other

good and valuable consideration set forth herein, the Parties hereby stipulate and agree as

follows:

                                                 AGREEMENT

Stop Border Barrier Construction

         1.       DoD and DHS agree to halt construction of border barriers to the extent such

construction activity is funded by money transferred pursuant to section 8005 of the Department

of Defense Appropriations Act of 2019 and 2020, and undertaken pursuant to 10 U.S.C. § 284.

DoD and DHS also agree to halt construction of border barriers to the extent such construction

activity is funded by fiscal year 2015–2019 military construction funds made available pursuant

to 10 U.S.C. § 2808. This Agreement shall not apply to border barrier construction using other

sources of funds, including funds appropriated by Congress to DHS.

Environmental Remediation Projects

         2.       Subject to the availability of funding for such purposes, DoD and DHS agree to

undertake the categories of remediation and mitigation work listed paragraph 2.a – m to address

the impacts of border barrier construction at the project sites funded by (1) money transferred

pursuant to section 8005 of the Department of Defense Appropriations Act of 2019 and 2020,

and undertaken pursuant to 10 U.S.C. § 284; and (2) fiscal year 2015–2019 military construction

funds made available pursuant to 10 U.S.C. § 2808 (“Project Sites”).



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                  a.       Remove construction equipment, materials, and debris from project sites;

                  b.       Backfill or cover open trenches;

                  c.       Remove or cut exposed rebar;

                  d.       Install appropriate warning signage for potential obstacles, low water
                           crossing, and hazards;

                  e.       Cut, cap, and secure exposed above-ground conduits;

                  f.       Remove or secure large and unstable rock from steep slopes;

                  g.       Backfill and grade border roads and low-water crossings;

                  h.       Implement erosion control measures;

                  i.       Revegetation of disturbed areas;

                  j.       Evaluate whether to retain or decommission construction roads;

                  k.       Repair or restore border and access roads, including completion of
                           appropriate road safety measures;

                  l.       Completion or repair of water drainage projects;

                  m.       Installation of cattle fencing and cattle guards;

                  n.       Stormwater pollution prevention measures, including removal of sediment
                           from drains and installation of measures to prevent sediment
                           accumulation;

                  o.       Installation of small wildlife passages within existing barriers;

                  p.       Decommission water wells utilized during construction that are no longer
                           necessary for continued Border Patrol operations.

         3.       Defendants will assess the status of conditions of the Project Sites to determine

the appropriate scope and extent of the remediation activities listed in paragraph 2. The Parties

agree that the activities listed in paragraph 2 may not be appropriate at every Project Site.

Defendants shall have sole and exclusive authority to determine when, how, or where, if at all, to

undertake the activities listed in paragraph 2 at the Project Sites.

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Consultation

         4.       For the § 284 project sites, DHS agrees to disclose DHS’s proposed plans for the

Environmental Remediation Projects listed in paragraph 2 and provide Plaintiffs with an

opportunity to provide input and comments on those remediation plans. DHS intends to proceed

with standard environmental planning, including actions consistent with the National

Environmental Policy Act (“NEPA”), concerning the Environmental Remediation Projects for

the § 2808 project sites. Plaintiffs will have the opportunity to provide input and comments on

the proposed remediation for the § 2808 project sites as part of the standard environmental

planning process.

         5.       DHS shall provide Plaintiffs with periodic (at least twice annually) status reports

regarding the Environmental Remediation Projects.

 Environmental Study

         6.       Subject to the availability of funding for such purposes, U.S. Customs and Border

Protection (“CBP”), a component of Defendant DHS, will fund a study that will assess the

impacts of barrier infrastructure construction at the Project Sites on the connectivity of wildlife

populations between the United States and Mexico. The study will be conducted by a source

procured or contracted by CBP with relevant experience and expertise for this type of study. In

planning and executing the study, CBP will collaborate with Defendant U.S. Department of the

Interior (“DOI”), including, as appropriate, DOI component agencies National Park Service, U.S.

Fish and Wildlife Service, U.S. Bureau of Land Management, or United States Geological

Survey. CBP will solicit information, data, and recommendations from DOI to inform the

content, scope, and execution of the study, including with respect to the wildlife populations to

study and geographic locations for the study. The study will promptly be made available to the



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public upon completion. DHS/CBP shall provide Plaintiffs with periodic (at least twice

annually) status reports regarding the study. In no event shall the cost of the study exceed

$800,000.00.

Dismissal of Claims

         7.       Within 10 calendar days of the effective date of this Agreement, Plaintiffs will

dismiss with prejudice the Lawsuits by having counsel file a Motion for Dismissal with

Prejudice, a copy of which is attached hereto as Exhibit A, pursuant to Rule 41(a)(2) of the

Federal Rules of Civil Procedure.

No Admission of Liability

         8.       This Agreement has been entered into by the Parties solely for the purposes of

compromising disputed claims related to border barrier construction funded by (1) money

transferred pursuant to section 8005 of the Department of Defense Appropriations Act of 2019

and 2020, and undertaken pursuant to 10 U.S.C. § 284; and (2) fiscal year 2015–2019 military

construction funds made available pursuant to 10 U.S.C. § 2808 without further protracted legal

proceedings and avoiding the expense and risk of further litigation. Defendants deny liability as

to each of the claims, motions, petitions, and requests that were raised, or that could have been

raised, in the Lawsuits. This Agreement does not constitute, and may not be construed as, a

determination or an admission of a violation of any constitutional provision, statute, law, rule,

regulation, policy, or contract by the Defendants. Furthermore, none of the terms of this

Agreement may be offered or received in evidence or in any way referred to in any civil,

criminal, or administrative action or proceeding other than proceedings permitted by law, if any,

that may be necessary to consummate or enforce this Agreement.




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Release and Discharge

         9.       Plaintiffs, for themselves and their administrators, heirs, representatives,

successors, or assigns, fully and forever waive, release and discharge the Defendants and their

components, agents, employees and former employees, both in their official and their individual

capacities, and the United States from any and all claims, demands, and causes of actions of

every kind, nature or description, whether for monetary or equitable relief, and whether currently

known or unknown, that Plaintiffs may have had, may now have, or may hereafter have arisen

out of or in connection with any event related to order barrier construction funded by (1) money

transferred pursuant to section 8005 of the Department of Defense Appropriations Act of 2019

and 2020, and undertaken pursuant to 10 U.S.C. § 284; and (2) fiscal year 2015–2019 military

construction funds made available pursuant to 10 U.S.C. § 2808. This release shall not apply to

any claims Plaintiffs may assert against border barrier construction projects funded by other

sources of funds, including funds appropriated by Congress to DHS.

Covenants Not to Sue or Commence Further Proceedings

         10.      Plaintiffs hereby covenant that they will not commence against the Defendants

their components, agents, employees or former employees, either in their official or their

individual capacities, or the United States any action, claim, suit, or administrative proceeding on

account of any claim or cause of action that has been released or discharged by this Agreement.

Rule of Construction

         11.      This Agreement shall be considered a jointly drafted agreement and shall not be

constructed against any party as the drafter.




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Integration

         12.      This Agreement and its Exhibits constitute the entire agreement and

understanding between the Parties entered into in good faith, and no statement, representation,

remark, agreement, or understanding, in oral or written form, that is not contained in this

Agreement shall be enforced, recognized, or used to interpret this Agreement or its Exhibits.

The Parties agree that any prior or contemporaneous representations or understandings not

explicitly contained in this written Agreement, whether written or oral, are of no further legal or

equitable force or effect.

Severability

         13.      The provisions of this Agreement are severable. Should any provision of this

Agreement, for any reason, be deemed or held invalid or unenforceable, in whole or in part, by a

court of law, said determination shall not affect any other provision of this Agreement.

No Third Party Rights

         14.      This Agreement is not intended to create, and does not create, any third-party

beneficiary rights or any other kind of right or privilege for any person, group, or entity.

No Prior Assignment of Rights and Interests

         15.      Plaintiffs represent and warrant that they are the sole and lawful owners of all

rights, titles, and interests in all claims and matters which they purport to release herein, and that

they have not heretofore assigned or transferred, attempted to assign or transfer, or purported to

assign or transfer any claim or matter released herein. Plaintiffs shall indemnify the Defendants

and any of their current or former employees, officers, or agents, whether in their official or

individual capacities, against, and defend and hold them harmless from, any claims arising out of

or relating to any such assignment or transfer of any claims or other matters released herein.



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Full Authority to Sign

         16.      The undersigned representatives of each party certify that they are fully

authorized by the party or parties they represent to execute the Agreement on behalf of himself

or herself, or on behalf of the party or entity on whose behalf he or she signs.

Execution in Counterparts

         17.      This Agreement may be executed and delivered in counterparts. Each

counterpart, when executed, shall be considered one and the same instrument, which shall

comprise the Agreement, which takes effect on the Effective Date.

Modification and Amendment

         18.      This Agreement cannot be modified or amended except through a written

instrument that specifically refers to this Agreement and that is signed by the Parties or their

counsel. No provision of this Agreement may be waived or altered except through a written

waiver or amendment signed by the Parties or their counsel acting on their behalf.

Binding Successors

         19.      This Agreement shall be binding upon and inure to the benefit of the Parties and

their respective heirs, executors, successors, assigns and personal representatives, including any

persons, entities, departments or agencies succeeding to the interests or obligations of the Parties.

Attorneys’ Fees & Costs

         20.      The Parties agree that each party shall bear its own costs, expenses, and attorneys’

fees associated with litigating the Lawsuits.




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Effective Date

         21.      The effective date of this Agreement will be the date on which it is executed by

all the undersigned Parties. The Parties further agree that signature by electronic means shall

have the same effect for all purposes as an ink-signed original agreement.



Dated: March 23, 2022
                                                                                   Digitally signed by Brian Segee
                                                                                   DN: cn=Brian Segee, o, ou,
                                                                    Brian Segee    email=bsegee@biologicaldiversity.
                                                                                   org, c=US
BRIAN M. BOYNTON                                                                   Date: 2022.03.24 10:00:29 -07'00'

Acting Assistant Attorney General                              Brian Segee (CA Bar No. 200795)
                                                               CENTER FOR BIOLOGICAL DIVERSITY
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Director, Federal Programs Branch                              Los Angeles, CA 90017
                                                               Tel: (805) 750-8852
ANTHONY J. COPPOLINO                                           Email: bsegee@biologicaldiversity.org
Deputy Director, Federal Programs Branch
                          Digitally signed by
ANDREW                    ANDREW WARDEN                        Counsel for Plaintiffs
                          Date: 2022.03.23
WARDEN                    15:01:08 -04'00'
ANDREW I. WARDEN
Senior Trial Counsel (IN Bar No. 23840-49)
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Attorneys for Defendants




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                                                   EXHIBIT A




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                           IN THE UNITED STATES DISTRICT COURT
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                                v.

  LLOYD J. AUSTIN III, in his official capacity
  as Secretary of Defense, et al.,

                  Defendants.



                UNOPPOSED MOTION FOR DISMISSAL WITH PREJUDICE

         The parties have executed a settlement agreement that resolves the above-captioned

cases. In accordance with that agreement, Plaintiffs move to dismiss these action, in their

entirety, with prejudice pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure. Each

party shall bear its own costs and attorneys’ fees. Defendants do not oppose this motion. A

proposed order is attached.

Date: XX                                                           Respectfully submitted,

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                                                               Brian Segee (CA Bar No. 200795)
                                                               (Pro Hac Vice)
                                                               CENTER FOR BIOLOGICAL DIVERSITY
                                                               660 S. Figueroa St., Suite 1000
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                                                               Tel: (805) 750-8852
                                                               Email: bsegee@biologicaldiversity.org

                                                               Counsel for Plaintiffs




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                                v.

  LLOYD J. AUSTIN III, in his official capacity
  as Secretary of Defense, et al.,

                  Defendants.




                                              [Proposed] ORDER

         Upon consideration of Plaintiffs’ unopposed motion for dismissal with prejudice, it is

hereby

         ORDERED that the above-captioned cases are DISMISSED WITH PREJUDICE as to all

parties in its entirety. See Fed. R. Civ. P. 41(a)(2). Each party shall bear its own costs and

attorneys’ fees.

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DATE:______________                                                     _____________________________
                                                                        Trevor N. McFadden
                                                                        United States District Judge




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